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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8
                                           AT SEATTLE
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11      In re:                                             Case No. C17-1268RSL
12
        KENT DOUGLAS POWELL and HEIDI                      Bankr. Case No. 12-11140MLB
13      POWELL,
14                  Debtors.                               ORDER GRANTING
                                                           MOTION TO DISMISS
15
16      KENT DOUGLAS POWELL and HEIDI
        POWELL,
17
                    Appellants,
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                         v.
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        DENNIS LEE BURMAN,
20
                              Appellee.
21
22         This matter comes before the Court on bankruptcy appellants’ “Motion to Dismiss.” Dkt.
23 # 10. In the above-captioned matter, Kent and Heidi Powell filed an appeal and motion for a
24 temporary restraining order challenging the sale of the domain www.heidipowell.com to a
25 different Heidi Powell, who is apparently a previous cast member on the former ABC reality
26 series “Extreme Weight Loss.” The Court denied the motion for a temporary restraining order.
27 Dkt. # 7. Appellants represent they no longer seek relief from the Court, and accordingly move
28 to dismiss this appeal. Dkt. # 10. They also represent that the Chapter 7 trustee, the adverse



     ORDER GRANTING MOTION TO DISMISS - 1

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1 party in this matter, consents to the appeal’s dismissal. Federal Bankruptcy Rule 8023 provides
2 that an appeal may be dismissed upon the parties’ agreement. The parties here agree the matter
3 should be dismissed, and the trustee has not filed any responsive pleadings, see Fed. R. Civ. P.
4 41(a)(1).
5         For those reasons, appellants’ motion to dismiss, Dkt. # 10, is GRANTED, and their
6 appeal is DISMISSED.
7
8         DATED this 7th day of November, 2017.
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                                                   Robert S. Lasnik
12                                                 United States District Judge
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     ORDER GRANTING MOTION TO DISMISS - 2

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